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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                              17 Cr. 118-5 (KPF)

LEO OUTLAW,                                               ORDER

                          Defendant.

KATHERINE POLK FAILLA, District Judge:

      This Court has received the application of Defendant Leo Outlaw for

compassionate release, in the form of immediate release from custody to begin

serving his term of supervised release, pursuant to 18 U.S.C. § 3582(c)(1)(A)

(see Dkt. #262 (pro se application), 265 (counseled supplement)), as well as the

Government’s opposition to same (see Dkt. #268). After reviewing the record,

the Court agrees with the Government (see Dkt. #268 at 2-4) that the

application that was made to the Bureau of Prisons (the “BOP”) by Mr. Outlaw

in or about April 2020 was not — and was not understood by the BOP to be —

a request for compassionate release under § 3582(c)(1)(A) (see Dkt. #268-1,

268-2). Rather, the request to the BOP was one for home confinement

pursuant to 18 U.S.C. § 3624(c)(2). The nature of the request is clear from,

among other things, the facts that (i) the request itself makes no mention of

“compassionate release” or § 3582(c)(1)(A); (ii) the request instead requests a

transfer to home confinement, which is governed by § 3642(c); and (iii) the BOP

response to the request similarly makes no mention of “compassionate release”

or § 3582(c)(1)(A), instead referring to home confinement, § 3642(c), and the

CARES Act.
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      This Court has previously concluded that “[a] defendant may move under

§ 3582(c)(1)(A) only after the defendant has ‘fully exhausted all administrative

rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier.’” United States v.

Sessum, No. 15 Cr. 667-6 (KPF), 2020 WL 2836781, at *2 (S.D.N.Y. June 1,

2020) (quoting 18 U.S.C. § 3582(c)(1)(A)) (noting prior denial without prejudice

because of failure to exhaust administrative requirements). On this record, the

Court concludes the same, and denies Mr. Outlaw’s application without

prejudice to its renewal after exhausting administrative remedies.

      The Clerk of Court is directed to terminate the motions at docket entries

262 and 265. Defense counsel is directed to assist Mr. Outlaw in submitting

an application for compassionate release at counsel’s earliest possible

opportunity, if Mr. Outlaw still seeks this relief. It is the Court’s hope that BOP

personnel at FCI Allenwood Medium will promptly process any request.

      SO ORDERED.

Dated: October 30, 2020
       New York, New York

                                               KATHERINE POLK FAILLA
                                              United States District Judge




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